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                          UNITED STATES DISTRICT COURT
                               DISTRICT OF MAINE

   UNITED STATES OF AMERICA                    )
                                               )
          v.                                   )      No. 2:21-cr-00067-JAW
                                               )
   ANDREW HAZELTON                             )
                                               )

                 GOVERNMENT’S SENTENCING MEMORANDUM

          The United States of America, by and through its counsel, Darcie N.

   McElwee, United States Attorney for the District of Maine, and Craig M. Wolff,

   Assistant United States Attorney, respectfully submits the following memorandum in

   aid of sentencing in this matter.

                                       INTRODUCTION

          In October 2019, when he was 26 years old, Andrew Hazelton chatted on

   Instagram with a 10-year-old girl. During the chat—after learning that the girl was

   10—he said he wanted to see her “sexy body,” and asked her to send him pictures of

   her in her panties and without a shirt. He also said he wished he could have sex with

   her. Based on this chat and additional investigation, a search warrant was obtained in

   April 2021 for his residence and person, and he was found to be in possession of child

   pornography images and videos.

          Hazelton is now before the Court for sentencing after pleading guilty to

   possessing child pornography. For the reasons stated below, the government

   respectfully submits that a sentence at or near the low end of the advisory guidelines

   range is appropriate here.
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                               GOVERNMENT’S POSITION
          Hazelton faces a statutory maximum sentence of 20 years imprisonment. PSR

   ¶ 53. The Court may impose a supervised release term of between five years and life.

   PSR ¶ 56. A fine of up to $250,000 may be imposed, and a $100 special assessment is

   mandatory. PSR ¶¶ 60, 61. In addition, if the Court finds him to be non-indigent, the

   Court must impose an additional $5,000 special assessment. PSR ¶ 61. Restitution is

   mandatory, but no restitution requests have been received.

   I.     Hazelton’s Advisory Sentencing Guidelines Are Properly Calculated

          The revised PSR calculates Hazelton’s guidelines in the following way:


        Base offense level                        18                 § 2G2.2(a)(1)

        Prepubescent minors                       +2                 § 2G2.2(b)(2)

        Images portrayed                          +4              § 2G2.2(b)(4)(A)
        sadistic/masochistic conduct

        Use of computer                           +2                 § 2G2.2(b)(6)

        600+ images                               +5              § 2G2.2(b)(7)(D)

        Acceptance of responsibility              -3                       § 3E1.1

        Total Offense Level                       28


   PSR ¶¶ 17–29. The government agrees that all of the guideline enhancements

   correctly apply. At Criminal History Category I, his advisory guidelines range is

   78–97 months. PSR ¶ 54.




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   II.    A Sentence at or Near the Low End of the Advisory Guidelines Range Is
          Appropriate Here

          The government believes a sentence at or near the low end of the advisory

   guidelines range of 78–97 months is sufficient, but not greater than necessary, to

   comply with the statutory purposes of sentencing set forth in 18 U.S.C. § 3553(a).

          The revised Presentence Investigation Report accurately describes Hazelton’s

   offense conduct. The investigation began with the Penobscot County Sheriff’s Office,

   which received a complaint from the mother of a 10-year-old child that her daughter

   had sent inappropriate images to an adult male. PSR ¶ 7. Investigators were able to

   review an Instagram chat between the girl and a user named “hazelman93,” later

   identified as Hazelton. 1 PSR ¶ 8. During the chat, during which the child explicitly

   told him that she was 10 years old, he asked the child to send him inappropriate

   pictures, and even said he wanted to have sex with her.

          FBI investigators later learned of the Penobscot County investigation and

   obtained search warrants for his residence and person in April of last year. PSR ¶ 9.

   Hazelton’s electronic devices and online storage accounts were eventually found to

   contain a total of 108 child pornography videos and 14 still images. PSR ¶¶ 10, 11.

          A sentence at or near the low end of the advisory guidelines range takes into

   account the most aggravating aspect of Hazelton’s conduct, while still acknowledging

   potential infirmities in certain aspects of the guidelines. If all the Court had before it



   1
     Screenshots of the chat will be introduced at the sentencing hearing as Government Exhibit
   1. The search warrant affidavit of FBI TFO Jonathan Duquette, which explains how
   investigators determined that Hazelton was “hazelman93,” will be introduced as Government
   Exhibit 2.


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   were the results of the search warrants executed at his residence and on his person, the

   conduct would appear to be on the low end of the spectrum of child pornography

   cases. He did not possess an exceptionally large number of images, he did not

   distribute images to others, and only a single image depicted sadistic or masochistic

   conduct.

          What this case has that most possession cases do not, however, is evidence

   that Hazelton had one-on-one online contact with a minor, during which he sought

   inappropriate images and made sexual comments. In its 2021 report on non-

   production child pornography offenses, the U.S. Sentencing Commission noted that

   43.9% of possession offenders engaged in aggravating conduct either prior to or

   concurrently with their child pornography offense. U.S. Sentencing Comm’n, Federal

   Sentencing of Child Pornography Non-Production Offenses at 41 (2021), available at

   https://www.ussc.gov/sites/default/files/pdf/research-and-publications/research-

   publications/2021/20210629_Non-Production-CP.pdf. Hazelton’s interactions with

   the 10-year-old girl in 2019 therefore set him apart from the majority of child

   pornography possession defendants. Non-production offenders who engaged in such

   conduct received significantly longer sentences, on average, then offenders who did

   not. Id. at 44. The government submits that the Court can and should consider

   Hazelton’s significant aggravating conduct in arriving at his sentence.

          At the same time, it is true that Hazelton’s advisory guidelines include two

   enhancements applicable to his conduct—for the use of a computer and the presence

   of images of prepubescent minors—that are present in almost all child pornography




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   cases and therefore arguably do not serve to differentiate offenders. 2 In a case without

   the aggravating conduct present here, the ubiquity of these enhancements could

   support a recommendation for a below-guideline sentence. On balance, however, the

   government believes that a sentence at or near the low end of the guideline range

   factors in both the aggravating aspects of Hazelton’s conduct and any potential

   shortcomings of the child pornography guidelines.

          The government’s recommended sentence is also within the heartland of

   sentences imposed for child pornography offenses, unlike the two-year sentence

   Hazelton recommends. In fiscal year 2020, sentences for the 1,020 offenders in

   Criminal History Category I whose primary guideline was § 2G2.2 were distributed in

   the following way:




                               [rest of page intentionally left blank]




   2
     In fiscal year 2020, 93.6% of all cases sentenced using § 2G2.2 included the enhancement
   for prepubescent minors or minors under the age of 12. During the same year, 94.2% of all
   cases included the enhancement for use of a computer. See U.S. Sentencing Commission,
   Use of Guidelines and Specific Offense Characteristics, Guideline Calculation Based, Fiscal
   Year 2020 at 42–43, available at https://www.ussc.gov/sites/default/files/pdf/research
   -and-publications/federal-sentencing-statistics/guideline-application-frequencies/
   Use_of_SOC_Guideline_Based.pdf.


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   U.S. Sentencing Commission, Interactive Data Analyzer, https://ida.ussc.gov/

   analytics/saw.dll?Dashboard. The average sentence length was 87 months, and the

   median sentence length was 76 months. Id. A sentence at or near the low end of the

   advisory guidelines range is in line with sentences imposed across the country in

   similar cases.

   III.   The Government’s Recommended Sentence Fulfills the Statutory
          Purposes of Sentencing

          The government submits that its recommended sentence is also appropriate

   under 18 U.S.C. § 3553(a). In addition to the nature and circumstances of the offense,

   discussed above, the other statutory factors also support the imposition of this

   sentence.

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          A.        Hazelton’s History and Characteristics

          With respect to Hazelton’s history and characteristics, he reports that the

   challenges of caring for a disabled sibling negatively impacted his entire family

   during his childhood. PSR ¶ 37. He also reports a history of substance abuse and

   mental health diagnoses including bipolar disorder. PSR ¶ 43–45. Nothing in his

   history explains his offense behavior, however. He presents no information

   suggesting that drug addiction, bipolar disorder, anxiety or depression cause an

   individual to seek out minors online and possess child pornography. Although he

   apparently attempts to link his addiction and his offense behavior, see Def.’s Sent.

   Mem. at 1 (“Andrew is a college graduate, age 28, who developed a drug addiction,

   downloaded child pornography, and has since gained sobriety, engaged in treatment

   and matured.”), nothing supports this attempted linkage. It is also significant that for

   the past two years, he has participated in dual diagnosis treatment, see PSR ¶ 43,

   which presumably would have made it less likely that his actions were the result of a

   manic illness.

          B.        Seriousness of Offense, Respect for the Law, Just Punishment

          The Court also must consider the need for the sentence imposed to reflect the

   seriousness of the offense, to promote respect for the law, and to provide just

   punishment for the offense. See 18 U.S.C. § 3553(a)(2)(A). These factors are related.

   As the court noted in United States v. Stern, 590 F. Supp. 2d 945 (N.D. Ohio 2008),

   “There is no reason to believe that respect for the law will increase if a defendant

   who deserves leniency is sentenced harshly any more than there is reason to believe



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   that respect for the law will increase if a defendant who deserves a harsh punishment

   receives a slap on the wrist.” Id. at 957. In this case, Hazelton’s offense was quite

   serious. He revictimized the victims of child sexual abuse by possessing images of

   their abuse. In addition, he engaged in a sexually oriented online chat with a 10-year-

   old girl.

           C.     General and Specific Deterrence

           The Court also must consider the need for the sentence imposed to afford

   adequate deterrence to criminal conduct and to protect the public from further crimes

   of the defendant. See 18 U.S.C. § 3553(a)(2)(B), (C). These two factors are sometimes

   said to reflect the needs for general and specific deterrence. See, e.g., United States v.

   Russell, 600 F.3d 631, 637 (D.C. Cir. 2010). With respect to the former, the

   government believes that it is always important to send the message that child

   pornography offenders will face significant punishment.

           With respect to the latter, it is unclear how much of a risk Hazelton poses of

   committing future crimes. His willingness to engage online with a minor in addition

   to committing a more anonymous child pornography offense suggests an increased

   risk of future offenses. It also does not appear that he has taken any steps to address

   the root causes of his behavior, i.e., his sexual interest in children. He will have the

   opportunity to engage in appropriate treatment while incarcerated, and a lengthy

   supervised release term will ensure that he continues to take steps to minimize the risk

   that he will commit similar crimes in the future.




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          D.      Training and Treatment

          The Court must also consider the need for the sentence imposed to provide

   Hazelton with needed training or treatment. See 18 U.S.C. § 3553(a)(2)(D). The

   government’s recommended sentence will provide him with the opportunity to obtain

   needed mental health, substance abuse and sex offender treatment, as recommended

   in the PSR.

          E.      Sentencing Disparities

          Finally, the Court must also consider the need to avoid unwarranted sentence

   disparities among defendants with similar records who have been found guilty of

   similar conduct. See 18 U.S.C. § 3553(a)(6). In Gall v. United States, 552 U.S. 38

   (2007), the Supreme Court concluded that when a sentencing judge correctly

   calculates and carefully reviews the Guidelines range, he or she necessarily gives

   significant weight and consideration to the need to avoid unwarranted disparities. See

   id. at 54. The government submits that the sentence it recommends adequately

   addresses this factor.




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                                         CONCLUSION
          For the reasons stated above, the government recommends that the Court

   impose a sentence at or near the low end of the advisory guidelines range, followed

   by supervised release for 10 years.



                                                     Respectfully submitted,

                                                     DARCIE N. MCELWEE
                                                     UNITED STATES ATTORNEY



                                              By:     /s/ Craig M. Wolff
                                                     Craig M. Wolff
                                                     Assistant United States Attorney


   Dated: January 21, 2022




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                         UNITED STATES DISTRICT COURT
                              DISTRICT OF MAINE

                              CERTIFICATE OF SERVICE

          I hereby certify that on January 21, 2022, I electronically filed the above

   Government’s Sentencing Memorandum with the Clerk of Court using the

   CM/ECF system, which will send notification of such filing to the following:


                                     David Beneman
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